              Case 2:24-cv-00039-RAJ      Document 78   Filed 04/22/24     Page 1 of 4




 1                                                                     HON. RICHARD A. JONES

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 7
                                    UNITED STATES DISTRICT COURT
 8                            FOR THE WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
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       OSTERHAUS PHARMACY, INC., et al.,
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11                                                Case No. 2:24‐cv‐00039‐RAJ
                          Plaintiffs,
12                                                DECLARATION OF RYAN T.
       v.                                         ANDREWS IN SUPPORT OF
13                                                DEFENDANTS’ MOTION TO
       EXPRESS SCRIPTS, INC., et al.,             TRANSFER OR IN THE
14                                                ALTERNATIVE
15                                                DISMISS OR STRIKE THE
                          Defendants.             COMPLAINT
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     DECL. OF RYAN T. ANDREWS                           QUINN EMANUEL URQUHART & SULLIVAN, LLP
     (Case No. 2:24‐cv‐00039‐RAJ)                                1109 First Avenue, Suite 210
                                                                  Seattle, Washington 98101
                                                                        (206) 905-7000
               Case 2:24-cv-00039-RAJ            Document 78       Filed 04/22/24      Page 2 of 4




 1            I, Ryan T. Andrews, hereby state as follows:

 2            1.         I am Of Counsel with the law firm Quinn Emanuel Urquhart & Sullivan, LLP,

 3   counsel for Defendant Express Scripts, Inc. (“Express Scripts”) and Evernorth Health, Inc.

 4   (together, “Defendants”), in the above-captioned action. I submit this declaration in support of

 5   Defendants’ Motion to Transfer or in the Alternative Dismiss or Strike the Complaint

 6   (“Motion”). I have personal knowledge of the matters stated in this declaration based upon my

 7   involvement in this case and a review of the file.

 8            2.         Pursuant to Judge Jones’s General Motions Practice Procedures, on April 22,

 9   2024, I met and conferred via telephonic conference with counsel for Plaintiffs, Beth E. Terrell,

10   to try to avoid the Motion. I explained the bases and substantive grounds for the Motion and the

11   relief Defendants are seeking from the Court. Plaintiffs’ counsel informed me that they oppose

12   the Motion and the relief Defendants are seeking.

13            3.         A true and correct copy of the full interview quoted in paragraph 54 of the First

14   Amended Class Action Complaint, Dkt. 46, is attached hereto as Exhibit A.

15            4.         A true and correct excerpt of Express Scripts’ Pharmacy Provider Agreement with

16   Osterhaus Pharmacy, dated March 17, 2015, is attached hereto as Exhibit B.

17            5.         A true and correct excerpt of Express Scripts’ Pharmacy Provider Agreement with

18   Cammack’s Pharmacies, Inc., d/b/a Jim’s Pharmacy and Home Health, dated November 4, 2014,

19   is attached hereto as Exhibit C.

20            6.         A true and correct excerpt of Express Scripts’ Pharmacy Provider Agreement with

21   Ilwaco Pharmacy, dated July 22, 2014, is attached hereto as Exhibit D.

22            7.         A true and correct excerpt of Express Scripts’ Pharmacy Provider Agreement with

23   Valu Drugs Inc., dated June 10, 2014, is attached hereto as Exhibit E.

24            8.         A true and correct excerpt of Express Scripts’ Pharmacy Provider Agreement with

25   Smith’s Pharmacy II, Inc., d/b/a Smith’s Pharmacy, dated June 3, 2014, is attached hereto as

26   Exhibit F.

27            9.         A true and correct excerpt of Express Scripts’ Pharmacy Provider Agreement with

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                                                                             Seattle, Washington 98101
                                                                                   (206) 905-7000
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 1   Old Baltimore Pike Apothecary, Inc., t/a Southern Chester County Pharmacy, dated June 5, 2014,

 2   is attached hereto as Exhibit G.

 3            10.        A true and correct excerpt of Express Scripts’ PSAO Services Agreement with

 4   Health Mart Atlas, LLC (f/k/a AccessHealth), dated June 8, 2018, is attached hereto as Exhibit H.

 5            11.        A true and correct excerpt of Express Scripts’ Letter of Intent with AccessHealth,

 6   dated March 30, 2018, noting AccessHealth was changing its name to Health Mart Atlas, LLC,

 7   effective April 1, 2018, is attached hereto as Exhibit I.

 8            12.        A true and correct copy of the PSAO Pharmacy Affiliation Authorization signed

 9   on behalf of Redner’s Pharmacy # 38 to participate in the Access Health PSAO with Express

10   Scripts, dated February 10, 2018, is attached hereto as Exhibit J.

11            13.        I declare under penalty of perjury that the foregoing is true and correct.

12   Executed this 22nd day of April, 2024, at Greenwood, MS.

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14                                                             /s/ Ryan T. Andrews
                                                               Ryan T. Andrews (pro hac vice)
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                                                                              Seattle, Washington 98101
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 2                                      CERTIFICATE OF SERVICE

 3            I hereby certify that on April 22, 2024, I electronically filed the foregoing document with

 4   the Clerk of the Court using the CM/ECF system, which will send a copy of the foregoing to all

 5   counsel of record.

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 7   DATED: April 22, 2024

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                                                      /s/ Alicia Cobb
10                                                    Alicia Cobb, WSBA #48685

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